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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

DONNA CURLING, et al.,                  :
                                        :
                                        :
       Plaintiffs,                      :
                                        :
v.                                      :        CIVIL ACTION NO.
                                        :        1:17-cv-2989-AT
BRAD RAFFENSPERGER, et al.,             :
                                        :
                                        :
       Defendants.                      :

                                      ORDER

      This matter is before the Court on the Coalition Plaintiffs’ Emergency

Unopposed Motion to Seal [Doc. 801]. Plaintiffs have failed to provide any

explanation for the request to file these documents under seal as required under

Section (f) of the undersigned’s Standing Order filed in this case at Doc. 11.

(Standing Order, Doc. 11 at 23) (“Mere agreement by the parties that documents

should be designated as confidential does not automatically satisfy the Rule 26(c)

good cause standard.”) Plaintiffs have also failed to provide a proposed order in

connection with their motion.

      Accordingly, the Court DIRECTS Coalition Plaintiffs to supplement their

motion with: (1) an explanation why the declarations are deemed confidential and

subject to protection from public disclosure under Rule 26(c); and (2) a proposed

order granting the requested relief in conformance with Section II(J) of Appendix

H to the Court’s Local Civil Rules.
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IT IS SO ORDERED this 25th day of August, 2020.



                            _____________________________
                            Amy Totenberg
                            United States District Judge




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